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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    §
                                            §
v.                                          §       Case No. 22-cr-15-APM
                                            §
ELMER STEWART RHODES, III,                  §
KELLY MEGGS,                                §
KENNETH HARRELSON,                          §
JESSICA WATKINS,                            §
ROBERTO MINUTA,                             §
JOSEPH HACKETT,                             §
DAVID MOERSCHEL,                            §
THOMAS CALDWELL, and                        §
EDWARD VALLEJO,                             §
                                            §
                          Defendants.       §

                 ORDER: MOTION IN LIMINE TO PRECLUDE
             GOVERNMENT’S USAGE OF CERTAIN TERMS AT TRIAL


         On the ________ day of ___________, 2022 came for consideration a Motion in

Limine to Preclude Government’s Usage of Certain Terms at Trial in the above entitled

and numbered cause. The Court, after considering this Motion, any response, and the

evidence filed in support of the motion and response, is of the opinion that said motion

should, in all things be:


[]       GRANTED.


[]       DENIED.


[]       SET FOR HEARING on the _______day of ___________, 2022.




ORDER: MOTION IN LIMINE
                                                                            SOLO PAGE
